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                        IN THE UNITED STATES DISTRICT COURT


                          FOR THE DISTRICT OF DELAWARE


NASHEBO SEENEY,

              Movant/Defendant,

              V.                                  Civ. Act. No. 12-1578-LPS
                                                  Cr. Act. No. 11-66-LPS
UNITED STATES OF AMERICA,

Respondent/Plaintiff.


                                 MEMORANDUM OPINION




Nashebo Seeney. Pro se Movant.

Shannon Thee Hanson,Assistant United States Attorney, United States Department ofJustice,
Wilmington,Delaware. Attorney for Respondent.




March 22,2018
Wilmington, Delaware
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STARK,U.S. District Judge:

I.     INTRODUCTION


       Nashebo Seeney ("Movant") filed a Motion to Vacate, Set Aside, or Correct Sentence

pxirsuant to 28 U.S.C. § 2255. (D.I. 77; D.I. 87) The United States ("government") filed an Answer

in Opposition. (D.I. 100) For the reasons discussed, the Court will deny Movant's § 2255 Motion

without holding an evidentiary hearing.

II.    PROCEDURAL AND FACTUAL BACKGROUND

       On or ahout May 11,2011,federal law enforcement officers identified an Express Mail

parcel as being suspicious, and determined that the parcel contained over five kilograms of powder

cocaine. (D.I. 100 at 2-3) The next day, the agents conducted surveillance of a "controlled deliveiy"

of the package to the listed address by an undercover agent posing as a postal letter carrier. During

the delivery, Movant identified himself as the addressee and signed for the package. (Id.) After
conducting further surveillance of Movant's activities, the agents entered the residence,lawfiiUy

searched the premises, and subsequendy arrested Movant and his co-defendant, Melvin Lowe. (D.I.

100 at 4-5) On June 16,2011,the grand jury for the District of Delaware of Delaware issued a three

coimt Indictment charging Movant and co-defendant Lowe with:(1) conspiracy to possess with

intent to distribute a Controlled Substance (500 grams or more of a mixture and substance

containing a detectable amount of cocaine),in violation of 21 U.S.C. § 846;(2) attempted possession

with intent to distribute a controlled substance (500 grams or more of a mixture and substance

containing a detectable amount of cocaine),in violation of 21 U.S.C. § 841(a)(1); and (3) possession

of ammunition by a prohibited person,in violation of 18 U.S.C. § 922(g). (D.I. 11; D.I. 12)

Thereafter, the government and Movant entered into plea negotiations, and Movant pled guilty to

conspiring to possess with intent to distribute 500 grams or more of a mixture and substance

containing a detectable amount of cocaine. (D.I. 43 1) On February 13,2012, the Court
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sentenced Movant to 120 months ofimprisonment, followed by eight years of supervised release.

(D.I. 62) Movant did not appeal.

          Movant timely filed a pro se Motion to Vacate, Set Aside, or Correct Sentence Pursuant To 28

U.S.C. § 2255, and then an amended § 2255 Motion (hereinafter collectively referred to as "§ 2255

Motion"). (D.I. 77; D.I. 87) The government filed a Reply in Opposition. (D.I. 100)

III.      DISCUSSION


           In his Motion, Movant asserts that defense counsel provided ineffective assistance by:

(1)incorrecdy advising him about the law concerning conspiracy;(2) failing to challenge the

government's notice that Movant was subject to enhanced penalties under 21 U.SC. § 851; and

(3) failing to subject the government's case to a meaningful adversarial testing process. The

government contends that all three claims should be denied as meridess.

          Movant has properly raised his ineffecdve assistance of coimsel allegations in a § 2255

motion. SeeMassaro v. United States, 538 U.S. 500 (2003). Although Paragraph 9 of Movant's Plea

Agreement contains the following waiver of Movant's right to file a direct appeal and/or a collateral
attack on his conviction and sentence, the waiver expressly exempts ineffective assistance of counsel

claims:


                 The defendant knows that he has, and voluntarily and expressly agrees
                 to waive, the right to file any appeal, any collateral attack, or any other
                 writ or the tight to file any appeal, any collateral attack, or any other
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               writ or motion in this criminal case after sentencing- including but not
               limited to, an appeal under Tide 18, United States Code, Section 3742
               or Title 28, United States Code Section 1291 or a motion under Title
               28, United States Code Section 2255 ~ except that the Defendant
               reserves his right to appeal based on a claim that (1) Defendant's
               sentence exceeded the statutory maximum; (2) that the sentencing
               judge erroneously departed upwards from the Guideline range; or (3)
                that his counsel was constitutionallyineffective.

D.I. 43)(emphasis added). Therefore, the Court can consider the Claims asserted in the instant

Motion. See United States v. Phillips, 396 F. App'x 831,835 n.4(3d Cir. 2010)(noting that appellant

could pursue ineffective assistance of counsel claim in collateral proceeding because appellate waiver

expressly exempted ineffective assistance claims).

        As a general rule, ineffective assistance of counsel claims are reviewed pursuant to the two-

pronged standard established in Strickland v. Washington, 466 U.S. 668(1984). Under the first
Strickland prong, Movant must demonstrate that "counsel's representation fell below an objective

standard of reasonableness," with reasonableness being judged under professional norms prevailing

at the time counsel rendered assistance. Strickland, 466 U.S. at 688. Under the second Strickland

prong, Movant must demonstrate a reasonable probability that, but for counsel's error, the outcome
of the proceeding would have been different. See id. at 694; United States v. JSlahodil, 36 F.3d 323, 326
(3d Cir. 1994). In the context of a guilty plea, a movant satisfies Strickland% prejudice prong by
demonstrating that, but for counsel's error, there is a reasonable probability that he would have

insisted on proceeding to trial instead of pleading guilty. See Hill v. hockhart, 474 U.S. 52,58 (1985).
A court can choose to address the prejudice prong before the deficient performance prong, and

reject an ineffectiveness claim solely on the ground that the defendant was not prejudiced. See
Strickland, 466 U.S. at 668. Finally, although not insurmountable, the Strickland standard is highly

demanding and leads to a strong presumption that counsel's representation was professionally
reasonable. Id. at 689.
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       A. Claim One: Advice About Conspifacy Charge

       In his first claim, Movant contends that defense counsel incorrecdy advised him that a

conspiracy could be estabhshed without a written or verbal agreement, and that, as a result, he did

not enter the guilty plea voluntarily, knowingly, or intelligendy. Movant asserts that there was only

circumstantial evidence of a conspiracy, because there was no connecting link (or agreement)

between Movant and the sender of the "mysterious drug-filled package." (D.l. 77 at 21-23) This

argument is unavailing.

        Defense coimsel's affidavit, and representations made by Movant and defense counsel to the

Court during the plea colloquy and sentencing hearing, demonstrate that defense counsel and
Movant met twelve times to discuss the legal options available to Movant,including potential

witnesses and defenses. (D.l. 100-1 at 2-3; D.l. 100-1 at 15) During these meetings, defense

counsel and Movant discussed the elements of the conspiracy charge, and defense counsel explained

to Movant that "it's not necessary for the government to prove [you] knew the exact contents of

that package" to establish guilt. (D.l. 100-1 at 44) According to counsel, the two of them
extensively reviewed the case during their fourth meeting, after which Movant decided to enter a
guilty plea. (D.l. 100-1 at 3)

        During the plea colloquy,the government described the evidence it would have presented at

trial to prove that Movant participated in the conspiracy (D.l. 100-1 at 26-32),and recited the
following facts:

                The Suspect Parcel was earlier discovered to have contained over 5
                kilograms of powder cocaine. The cocaine was packaged in bricks that
                were wrapped with carbon sheets and Saran wrap. The cocaine was
                contained in a green bucket with green packing peanuts.



                The agents videotaped the surveillance of the 1125 Chesmut Street
                dehvery address, which lasted for approximately four hours. During
                   their surveillance of 1125 Chestnut Street, agents identified [Movant]
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               — and his codefendant in this case, Melvin Lowe — engaging in
               countersurveillance of the surrounding area. According to law
               enforcement officers, [Movant] was observed numerous times
               throughout the surveillance period investigating the area immediately
               surrounding the Chestnut Street residence around the time the Suspect
               Parcel was suspected to be delivered. [Movant] interacted with his
               codefendant Melvin Lowe during those times. [Movant] was also in
               contact with other unindicted co-conspirators during the time of the
               controlled delivery.

               At approximately 2:33 p.m., on May 12, 2011, an undercover agent,
               posing as a postal letter carrier, delivered the Suspect Parcel to the 1125
               Chestnut Street delivery address. The undercover agent- referring to
               the name that was Usted as the recipient ofthe package — told [Movant]
               that he had a delivery for a "Michael Johnson, Sr." The undercover
               agent then asked [Movant] whether he was in fact "Michael Johnson,
               Sr." [Movant] replied                 informed the undercover agent that
               he had been waiting for the Suspect Parcel since the day before. The
               undercover agent also asked [Movant] to sign for the Suspect Parcel;
               [Movant] did so by signing "Michael Johnson, Sr."

               [Movant] did not immediately open the Suspect Parcel. At
               approximately 2:40 on that same day, co-Defendant Melvin Lowe
               parked his 2000 Chrysler Concorde in front of the Chestnut Street
               residence and waited for[Movant]to exit the residence. [Movant] then
               entered the vehicle and drove around with Defendant Lowe around
               the block, engaging in what law enforcement officers observed as
               further counter-surveillance. [Movant] then exited the vehicle and
               entered the 1125 Chestnut Street residence.




               [Movant] was read Miranda Rights and Warnings and said he
               understood the warnings. [Movant] stated that the parcel was,in fact,
               his to an agent on the scene.

               The law enforcement agents engaged in a lawful search of the 1125
               Chestnut Street residence and discovered the open Suspect Parcel,
               discovered dmg paraphernalia, specifically two scales located in an
               upstairs bedroom. They also discovered during the search a tan-
               colored plastic bag that contained 49 rounds of .38 millimeter
               ammunition,21 rounds of.9 millimeter ammunition,and eight hollow-
               point rounds of.9 millimeter ammunition.

(D.I. 100-1 at 29-32) Movant admitted that these facts were true. (D.I. 100-1 at 32)
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       In addition, during the plea coUoquy, the Court informed Movant of the elements of the

conspiracy charge and reviewed the terms of the written Plea Agreement, and Movant acknowledged

he xmderstood the terms and that the written agreement accurately reflected his agreement with the

government. (D.I. 100-1 at 16-32) Movant stated that he vmderstood the elements of the

conspiracy charge against him, that he was aware of his rights he was waiving, and that he was

entering the guilty plea because he "conspired with another person to possess 500 grams or more of
cocaine." (D.I. 100-1 at 28)

       During the presentence interview, defense counsel reviewed the facts of the case with
Movant,and Movant informed counsel that he "agreed to what he did" so that he could get

acceptance of responsibility. (D.I. 100-1 at 43-4) It was defense counsel's opinion that, at "all times,
[Movant] understood that he was pleading guilty to conspiring with intent possess ... a substantial
amount of cocaine." (D.I. 100-1 at 44) Thereafter, during the sentencing hearing, Movant stated,
"Your Honor,I knew it was something iUegal, some contraband. The type and weight of it, I did

not know." (D.I. 100-1 at 50) Movant also agreed with the following description of the situation
provided by defense counsel during the sentencing hearing:

                I rhink he is admitting to that hut he is stuck on,I believe my client is
                stuck because you don't have to have a spoken or a written agreement
                to be a member of a conspiracy. He was a member of the conspiracy
                and his job was to receive the cocaine, the contraband, the illegal
                substance and he takes responsibility for it. But he can't sit here and
                say I knew it was five kilograms or ten kilograms.

(D.I. 100-1 at 50)

        It is well-settled that "[sjolemn declarations in open court carry a strong presumption of

verity" that create a "formidable barrier in any subsequent collateral proceedings." Blackledge v.
Allison, 431 U.S. 63,74 (1977). In this proceeding, Movant's allegation that he did not knowingly
and voluntarily enter into the Plea Agreement because defense counsel misinformed him about the
elements of a conspiracy charge fails to provide compelling evidence as to why the statements he
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made during the plea colloquy should not be presumptively accepted as true. As a result, the Court

concludes that Movant is boimd by the representations he made during the plea colloquy, and that

his guilty plea was knowing and voluntary.

        The Court also concludes that defense coimsel's advice did not amount to ineffective

assistance. Significantly,

                [t]here are three essential elements of a drug distribution conspiracy
                under 21 U.S.C. § 846:(1) a shared unity of purpose,(2) an intent to
                achieve a common goal,and (3)an agreement to work together toward
                the goal. It is suMcient if the government establishes a tacit
                agreement, which may rely exclusively on circumstantial
                evidence,including a demonstrated level of mutual trust. To sustain
                a conspiracy conviction, the evidence need not be inconsistent with
                every less sitiister conclusion save that of guilt.

United States v. Labqy, 511 F. App'x 228,230(3d Cir. 2013)(internal citations omitted; emphasis

added). In other words,an agreement to commit a conspiracy can be implicit or expMcit, and can be
proven entirely by circumstantial evidence. See United States v. Kapp,781 F.2d 1008,1010(3d Cir.
1986). Strong circumstantial evidence, without more,can be enough to support a jury's finding of
possession of narcotics with intent to distribute,' and evidence of gun and drug possession help
sustain the inference that the defendant was engaged in drug trafficking. See United States v. Parker,

621 F. App'x 109, 111 (3d Cir. 2015).

        Analyzing defense counsel's advice within this legal framework demonstrates that defense
counsel reasonably determined that Movant's use of a fake name, his admission that the parcel
belonged to him^ the fact that he had engaged in counter-surveiUance measures during the controlled
dehvery, and the discovery of drug paraphernalia and ammunition in the residence, presented
enough circumstantial evidence that Movant was part of a conspiracy, even without any proof of a
written or verbal agreement between Movant and the sender of the parcel. See United States v. Smith,


^See United States v. Davis, 397 F.3d 173,181 (3d Cir. 2005).
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294 F.3d 473,477(3d Cir. 2002)("The existence of a conspitacy can be inferred from evidence of

related facts and circumstances from which it appears as a reasonable and logical inference, that the

activities of the participants ... could not have been carried on except as the result of a

preconceived scheme or common understanding."). Additionally, Movant's statement that he

"mightnever have copped a plea"(D.I. 77 at 31) but for counsel's advice does not satisfy the

prejudice prong of the StricklandIHillstandard, (emphasis added) Consequently, the Court will

deny Claim One.

        B. Claim Two:Lack of Chaiienge to Notice of Enhanced Penalties

        In Claim Two,Movant asserts that defense counsel provided ineffective assistance by failing

to:(1) argue that the government's "Information to Estabhsh Prior Conviction"("§ 851 Notice")

(D.I. 40) did not comply with the notice requirements of 21 U.S.C.§ 851(a);(2)inform Movant of

the government's § 851 Notice and explain its effect on his sentence; and (3)investigate the prior

conviction that formed the basis of the § 851 Notice and challenge its accuracy and relevance.

These contentions are unavailing.

        With respect to Movant's first contention,§ 851(a)(1) provides,in pertinent part,

                [n]o person who stands convicted of an offense under this part shall
                be sentenced to increased punishment by reason on one or more prior
                convictions, unless before trial, or before entry of a plea of guilty, the
                United States attorney files an information with the court (and serves
                a copy of such information on the person or counselfor the person)
                stating in writing the previous convictions to be relied upon.

21 U.S.C. § 851(a)(1)(emphasis added). The government complied with this provision by filing the

§ 851 Notice on October 3, 2011, specifying the Movant was subject to an enhanced penalty "by
virtue of Movant's July 27,1995 conviction for a felony drug offense in the Delaware Superior

Court. (D.I. 40) Defense counsel was representing Movant on that date, and a copy of the § 851

Notice was electronically dehvered to defense counsel through the Court's CM/ECF system.

Movant entered his guilty plea two days later, on October 5, 2011. Since these procedures satisfy the
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filing requirements for a § 851 Notice, defense counsel's failure to challenge the method by which

the § 851 Notice was filed did not amount to ineffective assistance. See United States v. Sanders, 165

F.3d 248,253(3d Cir. 1999)(holding that attorney does not provide ineffective assistance by failing

to raise meritless arguments or objections).

        Movant's next assertion — that defense counsel never reviewed the § 851 Notice with him,

and that he did not understand that his sentence could be enhanced due to his prior felony

conviction — is similarly unavailing. Defense counsel,in his affidavit, asserts that he reviewed the

§ 851 Notice with Movant the day after it was filed. Moreover, paragraphs Two and Three of the
Plea Agreement state;

                2. [Movant] understands that this offense, because he has previously
                been convicted of a felony drug offense, carries a maximum sentence
                of life imprisonment with a minimum mandatory of ten (10) years, a
                fine of $4,000,000, or both, and at least eight (8) years supervised
                release, and a $100 special assessment.

                3. [Movant] also understands that, in order for him to be subject to
                the enhanced stamtory penalties in 21 U.S.C. § 841, the government
                would have to prove that [Movant] committed the acts alleged in
                Coimt One of the Indictment after having a final conviction for a
                felony drug offense, that is, on July 27,1995,[Movant] was convicted
                of Trafficking in Cocaine 5-50 grams (a Class B felony) in Superior
                Court for the State of Delaware. [Movant] does not contest that he
                has this prior conviction.

(D.I. 43 at 1-2) Finally, at the plea colloquy, the Court informed Movant that a guilty plea would
result in a mandatory minimum sentence of ten years. Given these circumstances, the Court rejects

as meridess Movant's contention that he did not understand the enhanced penalties to which he was

subjected.

        In his last allegation of Claim Two,Movant asserts that defense counsel failed to investigate

and challenge the accuracy or relevance of the prior § 851 conviction. He also alleges that he did
not qualify for the § 851 enhancement because his prior convictions were "petty" and, therefore,"in
contrast" to the intent of the recidivist enhancement. (D.I. 116 at 2) However, Movant does not
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provide, and the Court does not discern, any basis for challenging the validity or relevance of his

1995 Delaware felony conviction. As just explained, Movant stipialated to the conviction in his Plea

Agreement. Moreover, a defendant cannot challenge the validity of a quaUfying prior § 851

conviction if it "occurred more than five years before the date of the information alleging such prior

conviction." 21 U.S.C. § 851(e). In this case, the government filed the § 851 Notice on October 3,

2011, more than sixteen years after Movant was convicted of the predicate Delaware felony. As

such, any challenge to the § 851 conviction would have been denied as time-barred.

        In short, defense counsel was not ineffective for failing to raise a futile challenge to the § 851

Notice and subsequent enhancement of his sentence. Accordingly, the Court will deny Claim Two
in its entirety.

         C. Claim Three: Failure to Subject Government's Case
            to Meaningful Adversarial Testing

         Finally, Movant asserts that defense counsel failed to review exculpatory evidence with him
and failed to conduct any investigation into the illegal identification of Movant and the subsequent

illegal search and seizure of evidence. (D.I. 87 at 2-3) Citing United States v. Cronic, 466 U.S. 648
(1984), Movant contends that the two-pronged StricklandIMillstandard is inapphcable to this
argtiment and that the Court should presume prejudice because defense counsel failed to subject the
government's case to meaningful adversarial testing on a "wholesale level." (D.I. 87 at 3) The
premise of Movant's argument appears to be that he was constructively denied counsel because
counsel "dismissed ptis] demands to develop a defense strategy and in essence was acting more as a

'friend of the court' rather than [as] an adversary to the prosecution." (D.I. 87 at 2)

         In Cronic, the United States Supreme Court articulated a very limited exception to Strickland's

requirement that a petitioner must demonstrate both deficient performance and prejudice in order
to prevail on an ineffective assistance of counsel claim, and held that there are three situations in
which prejudice caused by an attorney's performance will be presumed: where the defendant is
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completely denied counsel at a critical stage; where "counsel entirely fails to subject the

prosecution's case to meaningful adversarial testing"; or where the circumstances are such that there

is an extremely small UkeUhood that even a competent attorney could provide effective assistance,

such as when the opportunity for cross-examination has been eliminated. See 466 U.S. at 659 &

n.25. The Cronic presumption of prejudice applies when counsel has completely failed to test the

prosecution's case throughout the entire proceeding. See Bell v. Cone, 535 U.S. 685,697 (2002).

        Movant's instant contention is not successful. In order to obtain relief under Cronic, there

must be a complete collapse in the adversarial process. No such collapse happened here. During

the plea process, defense counsel met with Movant on multiple occasions, reviewed the applicable

law and facts of the case with Movant,and rendered his professional opinion as to the potential

exposure Movant would face if he elected to proceed to trial. By pleading guilty, Movant saved
himself from an additional three to five years of potential incarceration. Counsel's performance was

more than adequate and fails to satisfy the exacting Cronic standard.

        Defense counsel's performance during the court proceedings also fails to satisfy the Cronic

standard. The record reveals that defense counsel met with Movant on three different occasions

after Movant entered his guilty plea in order to discuss sentencing. In an effort to advocate that the

Court not sentence Movant above the mandatory minimum, defense counsel responded to the draft

PSR,filed a sentencing memorandum prior to sentencing, and argued forcefully for a middle-of-the-

guidelines sentence. Additionally, after Movant sent a post-guilty plea letter to the probation officer
stating that he never knew he was engaged in a drug conspiracy, which could have resulted in the

Court denying the three-point reduction for acceptance of responsibility, defense counsel persuaded

the Court that Movant should still be entitled to the full three-point reduction. These actions fail to

justify presuming prejudice under Cronic.
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       Having determined that the Cronic presumption of prejudice is inapplicable, the Court must

review Claim Three under both prongs of the Strickland!Hill standard. Doing so, the Court finds

the Claim unavailing. Movant does not identify any exculpatory evidence that defense counsel did

not review with him. To the contrary, defense counsel's affidavit illustrates that he properly

investigated, researched, and advised Movant about the evidentiary issues involved in his case.

       Also, the record belies Movant's conclusory contention that defense counsel "was well aware

that the entire evidence put forth by the government was the ^ffuit of an illegal search and seizure'

with regard to the identification of[Movant] and seizure of evidence." (D.I. 87 at 2-3) As explained

in the Criminal Complaint, the parcel was initially deemed suspicious at the Philadelphia USPS

Processing and Distribution Center because of its "size and weight [|, and the fact that all seams

were glued to prevent odor from emitting from the parcel." (D.I. 2 at 3,Tf 9) Although the address

indicated on the parcel was deliverable,"no individual with the name MichaelJohnson, Sr. [the

addressee] was currently receiving mail at the address." (D.I. 2 at 3-4, 10) A canine handler with

the New Jersey State Police then conducted an exterior inspection of the parcel with his narcotic

detection canine, who indicated that the parcel "contained a controlled substance or the residue of a

controlled substance. The canine did not alert to any other parcel in the Une-up." (D.I. 2 at 4,^ 11)

The package was only opened and searched after a federal search warrant was obtained. (D.I. 2 at 4,

T| 12) Nothing in this record even remotely supports Movant's contention that the evidence was

obtained in an illegal manner.

        In short, given Movant's failure to support his contentions regarding the exculpatory

evidence and the illegality of the police search and seizure with anything but conclusory and

sweeping generalizations, the Court concludes that counsel's actions with respect to the evidentiary

issues of the case did not amount to ineffective assistance. Accordingly, the Court wiU deny Claim

Three as meritless.
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IV.     EVIDENTIARY HEARING

        Section 2255 requires a district court to hold a prompt evidentiary hearing unless the

"motion and the £Qes and records of the case conclusively show" that the Movant is not entitled to

relief. 28 U.S.C. § 2255; see also United States v. Booth, 432 F.3d 542,545-46 (3d Cir. 2005); United

States V. McCoy,410 F.3d 124,131 (3d Cir. 2005); Fed. R. Civ. P. 8(a), 28 U.S.C. foil. § 2255. As

previously explained, the record conclusively demonstrates that Movant is not entitled to relief.

Therefore,the Court wiU deny Movant's § 2255 Motion without an evidentiary hearing.

V.      CERTIFICATE OF APPEALABILITY

        A district court issuing a final order denying a § 2255 motion must also decide whether to

issue a certificate of appealabiHty. See 3d Cir. L.A.R. 22.2(2011). A certificate of appealability is

appropriate only if the movant"has made a substantial showing of the denial of a constimtional

right." 28 U.S.C. § 2253(c)(2). The movant must "demonstrate that reasonable jurists would find

the district court's assessment of the constitutional claims debatable or wrong." Slack v. McDaniel,

529 U.S. 473,484(2000).

        The Court concludes that Movant's claims lack merit, and is persuaded that reasonable

jurists would not find this assessment to be debatable. Therefore, the Court wiU not issue a

certificate of appealability.


VI.     CONCLUSION


        For all the foregoing reasons, the Court will dismiss Movant's 28 U.S.C. § 2255 Motion to

Vacate, Set Aside, or Correct Sentence without an evidentiary hearing. Additionally, the Court wiU

not issue a certificate of appealability. The Court shall issue an appropriate Order.
